Case 2:17-cv-06848-DMG-PLA Document 382 Filed 10/21/22 Page 1 of 6 Page ID #:24887


 1   GIBSON, DUNN & CRUTCHER LLP                     KOTCHEN & LOW LLP
     THEODORE J. BOUTROUS, JR. SBN 132099            DANIEL LOW, SBN 218387
 2    tboutrous@gibsondunn.com                        dlow@kotchen.com
     KATHERINE V.A. SMITH, SBN 247866                DANIEL KOTCHEN (pro hac vice)
 3    ksmith@gibsondunn.com                           dkotchen@kotchen.com
     LAUREN M. BLAS, SBN 296823                      LINDSEY GRUNERT (pro hac vice)
 4    lblas@gibsondunn.com                            lgrunert@kotchen.com
     333 South Grand Avenue                          1918 New Hampshire Ave NW
 5   Los Angeles, CA 90071                           Washington, DC 20009
     Telephone: 213.229.7000                         Telephone: 202.471.1995
 6   Facsimile: 213.229.7520                         Facsimile: 202.280.1128
 7   MICHELE L. MARYOTT, SBN 191993                  YADEGAR, MINOOFAR &
        mmaryott@gibsondunn.com                      SOLEYMANI LLP
 8   ELIZABETH A. DOOLEY, SBN 292358                 NAVID SOLEYMANI, SBN 219190
        edooley@gibsondunn.com                        soleymani@ymsllp.com
 9   MATTHEW T. SESSIONS, SBN 307098                 NAVID YADEGAR, SBN 205315
        msessions@gibsondunn.com                      navid@ymsllp.com
10   3161 Michelson Drive                            1875 Century Park East, Suite 1240
     Irvine, CA 92612-4412                           Los Angeles, CA 90067
11   Telephone: 949.451.3800                         Telephone: 310.499.0140
     Facsimile: 949.451.4220                         Fax: 888.667.9576
12
     Attorneys for Defendants                        Attorneys for Plaintiffs
13
14
15
                           UNITED STATES DISTRICT COURT
16
                          CENTRAL DISTRICT OF CALIFORNIA
17
                                     WESTERN DIVISION
18
     CHRISTY PALMER, VARTAN                  CASE NO. 17-CV-06848 DMG (PLAx)
19   PIROUMIAN, EDWARD COX, and
     JEAN-CLAUDE FRANCHITTI,                 JOINT STIPULATION AND
20                                           REQUEST TO EXTEND PRE-TRIAL
                       Plaintiffs,           AND TRIAL DEADLINES
21
           v.                                Hon. Dolly M. Gee
22
     COGNIZANT TECHNOLOGY
23   SOLUTIONS CORPORATION and
     COGNIZANT TECHNOLOGY
24   SOLUTIONS U.S. CORPORATION,
25                     Defendants.
26
27
28

                        JOINT STIPULATION TO EXTEND DEADLINES
                               Case No. 17-CV-06848 DMG (PLAx)
Case 2:17-cv-06848-DMG-PLA Document 382 Filed 10/21/22 Page 2 of 6 Page ID #:24888


 1         Plaintiffs Christy Palmer, Vartan Piroumian, Brian Cox, and Jean-Claude
 2   Franchitti (“Plaintiffs”) and Defendants Cognizant Technology Solutions Corporation
 3   and Cognizant Technology Solutions U.S. Corporation (“Defendants” or “Cognizant”)
 4   (collectively, “Parties”) submit this Joint Stipulation and Request to extend all remaining
 5   pre-trial deadlines and the trial date to account for the continuance of the class
 6   certification hearing to September 9, 2022, see Dkt. 373, as well as to permit appropriate
 7   time to complete any necessary expert reports, disclosures, and discovery, to complete
 8   the settlement conference, and to complete all other pre-trial deadlines and conferences
 9   following a decision on class certification.
10         This stipulation is made pursuant to Federal Rules of Civil Procedure 6 and 16
11   and Paragraph 10 of the Court’s Initial Standing Order, which allows for modification
12   of a Court-ordered deadline for good cause. See Judge Dolly M. Gee’s Initial Standing
13   Order ¶ 10 (“a stipulation to continue or extend the date of any matter before this Court
14   must be supported by a sufficient factual basis that demonstrates good cause why the
15   change in the date is essential”). Good cause is satisfied here.
16         On January 4, 2022, the Court entered an Order granting Plaintiffs’ second motion
17   to Extend the Case Schedule, scheduling the hearing on Plaintiffs’ Motion for Class
18   Certification on July 22, 2022. See Dkt. 237. This Order scheduled an initial trial date
19   of January 3, 2023 and set all other pre-trial deadlines in relation to the trial date,
20   including all deadlines related to Plaintiffs’ motion for class certification. See id.
21   Plaintiffs filed their motion for class certification on May 13, 2022, with a hearing set
22   for July 22, 2022.
23         On July 12, 2022, the Court sua sponte continued the hearing on Plaintiffs’
24   Motion for Class Certification from July 22, 2022 to July 29, 2022. See Dkt. 333.
25   Following this Order, Defendants filed an Ex Parte Application to Continue the July 29,
26   2022 Hearing Date for Plaintiffs’ Motion for Class Certification (Dkt. 256), Defendants’
27   Motion for Partial Summary Judgment (Dkt. 266), Defendants’ Daubert Motions (Dkts.
28   281, 285), and Plaintiffs’ Motion for Sanctions (Dkt. 298). See Dkt. 363. On July 22,
                                                    1
                          JOINT STIPULATION TO EXTEND DEADLINES
                                 Case No. 17-CV-06848 DMG (PLAx)
Case 2:17-cv-06848-DMG-PLA Document 382 Filed 10/21/22 Page 3 of 6 Page ID #:24889


 1   2022, the Court granted Defendants’ Ex Parte Application, continuing the July 29, 2022
 2   hearings to August 26, 2022. See Dkt. 365. On August 23, 2022, Plaintiffs filed an
 3   unopposed Ex Parte application to continue the dates for the aforementioned hearings
 4   to September 9, 2022. Dkt. 371. On August 25, 2022, the Court granted Plaintiffs’ Ex
 5   Parte application to continue the hearings to September 9, 2022. 1 Dkt. 373. On
 6   September 9, 2022, the Court heard argument on the aforementioned motions and
 7   subsequently took them under submission. Dkt. 374. In total, these continuances pushed
 8   the hearing on Plaintiffs’ Motion for Class Certification seven weeks past the original
 9   date set in the January 4, 2022 Order.
10         On September 23, 2022, the Parties filed a joint stipulation to extend the then-
11   close-approaching pre-trial deadlines (those related to experts and settlement). On
12   September 27, 2022, the Court granted the Parties’ joint stipulation and set an initial
13   expert disclosure deadline of October 28, 2022; a rebuttal expert disclosure deadline of
14   November 18, 2022; an expert discovery cut-off deadline of December 9, 2022; a
15   settlement conference completion deadline of December 12, 2022; and a joint status
16   report regarding settlement deadline of December 19, 2022. At the time, the Parties did
17   not request that the Court alter the remaining pre-trial deadlines or trial date, which
18   currently include a pre-trial document submissions deadline of November 8, 2022;
19   motions in limine deadline of November 8, 2022; an oppositions to motions in limine
20   deadline of November 11, 2022; a final pretrial conference date of November 29, 2022;
21   and a trial date of January 3, 2023. Given that the trial and all pre-trial deadlines are
22   quickly approaching, the Parties jointly request that the Court continue the trial date and
23   related pre-trial deadlines.
24         As explained in the accompanying Declaration of Katherine V.A. Smith (“Smith
25   Decl.”), good cause exists to continue the trial date and all pre-trial deadlines to
26   correspond with the Court’s continuances of the hearing on Plaintiffs’ Motion for Class
27
28   1
      That same day, the Court also issued an Order continuing expert-related deadlines.
     Dkt. 372.
                                             2
                           JOINT STIPULATION TO EXTEND DEADLINES
                                  Case No. 17-CV-06848 DMG (PLAx)
Case 2:17-cv-06848-DMG-PLA Document 382 Filed 10/21/22 Page 4 of 6 Page ID #:24890


 1   Certification and to await the Court’s decision on the Motion. Prior to the Court’s
 2   continuances of the class certification hearing and the Court taking Plaintiffs’ Motion
 3   under submission after the hearing, the trial was set to commence almost six months
 4   after the Motion was heard and an Order issued, allowing the Parties ample time to
 5   complete all remaining expert discovery, settlement discussions, and pre-trial work.
 6   Now, trial is set to commence in less than three months from the date of this stipulation.
 7         Accordingly, the Parties stipulate and jointly request to continue the trial date and
 8   all pre-trial deadlines to account for the continuances of the class certification hearing
 9   and the fact that the class certification motion remains under submission.
10
11    Scheduled Event              Current Deadline               Stipulated Extension
12    Initial Expert Disclosure & 10-28-2022                      12-9-2022
13    Report Deadline
14    Rebuttal Expert Disclosure 11-18-2022                       1-6-2023
15    & Report Deadline
16    Expert Discovery Cut-Off     12-9-2022                      1-27-2023
17    (includes hearing of
18    discovery motions)
19    Settlement Conference        12-12-2022                     2-3-2023
20    Completion Date
21    Joint Status Report re       12-19-2022                     2-10-2023
22    Settlement
23    Pre-Trial Document           11-8-2022                      4-18-2023
24    Submissions Deadlines
25       1. Proposed Pretrial
26          Conference Order
27       2. Contentions of
28          Fact/Law
                                                 3
                           JOINT STIPULATION TO EXTEND DEADLINES
                                  Case No. 17-CV-06848 DMG (PLAx)
Case 2:17-cv-06848-DMG-PLA Document 382 Filed 10/21/22 Page 5 of 6 Page ID #:24891


 1
         3. Pretrial Exhibit
 2
            Stipulation
 3
         4. Joint Exhibit List
 4
         5. Witness Lists &
 5
            Joint Trial Witness
 6
            Time Estimate Form
 7
         6. Agreed Statement of
 8
            the Case
 9
         7. Proposed Voir Dire
10
            Questions
11
         8. Joint Statement of
12
            Jury Instructions &
13
            Joint Statement of
14
            Disputed
15
            Instructions
16
      Verdict Forms
17
      Motions in Limine Filing    11-8-2022               4-18-2023
18
      Deadline
19
      Oppositions to Motions in   11-11-2022              5-2-2023
20
      Limine Filing Deadline
21
      Final Pretrial Conference   11-29-2022              5-16-2023
22
      Trial (4 weeks)             1-3-2023                6-20-2023
23
24
25
26
27
28
                                               4
                           JOINT STIPULATION TO EXTEND DEADLINES
                                  Case No. 17-CV-06848 DMG (PLAx)
Case 2:17-cv-06848-DMG-PLA Document 382 Filed 10/21/22 Page 6 of 6 Page ID #:24892


 1
 2   DATED: October 21, 2022                GIBSON, DUNN & CRUTCHER LLP
 3
 4
                                            By: /s/Michele L. Maryott
 5                                                         Michele L. Maryott
 6                                          Attorney for Defendants
 7
 8
 9
10
11
     DATED: October 21, 2022                KOTCHEN & LOW LLP
12
13
14                                          By: /s/Daniel Kotchen
                                                           Daniel Kotchen
15
                                            Attorney for Plaintiffs
16
17
18
19
                     ATTESTATION UNDER LOCAL RULE 5-4.3.4(a)(2)(i)
20
              Pursuant to Civil L. R. 5-4.3.4(a)(2)(i), I attest that concurrence in the filing of
21
     this document has been obtained from each of the signatories above.
22
23
                                                By: /s/Michele L. Maryott
24
                                                         Michele L. Maryott
25
     105801755.2
26
27
28
                                                     5
                             JOINT STIPULATION TO EXTEND DEADLINES
                                    Case No. 17-CV-06848 DMG (PLAx)
